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                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

IN RE:                                         )
                                               )       Bankruptcy No. 1:11-bk-16309
HENRY E. BAILEY,                               )
                                               )       Chapter 13
            Debtor,                            )
_________________________________              )       Judge Burton Perlman
                                               )
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                 Plaintiff,                    )
                                               )       Adversary No. ________________
         v.                                    )
                                               )
HENRY E. BAILEY,                               )
                                               )
                 Defendant.                    )
                                               )



              COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

         The United States of America files this Complaint pursuant to Bankruptcy Rules 7001(6)

and 7001(9) to obtain judgment pursuant to 11 U.S.C. § 1328(a)(4), declaring as non-

dischargeable debt owed by Defendant Henry E. Bailey (“Defendant”) to the United States. In

support of this Complaint, the United States alleges as follows:

                                           JURISDICTION

         1. This is an Adversary Complaint to determine the dischargeability of debt and is thus a

              core proceeding under 28 U.S.C. § 157(b)(2)(I). This Court has jurisdiction over this

              Adversary Complaint pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. § 157(a).
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                                           VENUE

      2. Venue is proper in this district pursuant to 28 U.S.C. § 1409(a), as the Complaint

         arises under Title 11, U.S.C., and Defendant’s bankruptcy case, No. 1:11-bk-16309,

         is pending before this Court.

                                          PARTIES

      3. Plaintiff United States is charged with the enforcement of Title VIII of the Civil

         Rights Act of 1968 (the “Fair Housing Act”), as amended by the Fair Housing

         Amendments Act of 1988, 42 U.S.C. §§ 3601-3619.

      4. Defendant Henry E. Bailey is a debtor in the above-referenced bankruptcy case and

         resides in Cincinnati, Ohio, within the Southern District of Ohio.

                     ALLEGATIONS UNDER 11 U.S.C. § 1328(a)(4)

      5. On January 31, 2011, the United States filed a civil lawsuit against Defendant entitled

         United States v. Henry E. Bailey, Case No. 1:11cv00059, in the United States District

         Court for the Southern District of Ohio (“District Court”), alleging that Defendant

         had violated the Fair Housing Act by engaging in a pattern or practice of subjecting

         actual and prospective female tenants of his rental properties to severe, pervasive, and

         unwelcome sexual harassment.

      6. Continuously from 1991 to the present, Defendant has been the owner of one or more

         residential rental properties located in the Cincinnati, Ohio, area in the Southern

         District of Ohio. These properties and the apartments located therein are dwellings

         within the meaning of 42 U.S.C. § 3602(b).

      7. During all times that Defendant owned these properties, he controlled and/or had the

         power to control all aspects of the management of each property including, but not



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         limited to, showing available dwellings to prospective tenants, collecting rent,

         keeping track of past due rent, evicting tenants, accepting requests for repairs, making

         repairs, and performing maintenance.

      8. From at least 2008 to 2011, Defendant on multiple occasions subjected actual and

         prospective female tenants of the subject properties to discrimination on the basis of

         sex, including severe, pervasive, and unwelcome sexual harassment. Such conduct

         included, but is not limited to:

             a.      Making unwelcome sexual advances and unwelcome sexual comments to

                     female tenants and prospective tenants;

             b.      Entering the apartments of female tenants without permission and notice;

             c.      Groping or otherwise touching female tenants and prospective tenants

                     without their consent in a sexual or otherwise suggestive manner;

             d.      Offering and granting tangible housing benefits, including reduced rent,

                     overlooking late or unpaid rent in exchange for sexual favors, and

                     performing maintenance or repairs in exchange for sexual favors; and

             e.      Denying tangible housing benefits to tenants or prospective tenants, such

                     as refusing to make repairs or perform maintenance, or refusing to offer

                     discounts on rent or other fees because the individual had not provided

                     requested sexual favors; and

             f.      Taking adverse housing actions against female tenants who have not

                     granted requested sexual favors, including evicting or initiating eviction

                     proceedings against such tenants.




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      9. The conduct of Defendant described above constitutes:

             a.      A denial of housing or making housing unavailable because of sex, in

                     violation of Section 804(a) of the Fair Housing Act, 42 U.S.C. § 3604(a);

             b.      Discrimination in the terms, conditions, or privileges of the rental of

                     dwellings, or in the provision of services or facilities in connection

                     therewith, because of sex, in violation of Section 804(b) of the Fair

                     Housing Act, 42 U.S.C. § 3604(b);

             c.      The making of statements with respect to the rental of dwellings that

                     indicate a preference, limitation, or discrimination based on sex, in

                     violation of Section 804(c) of the Fair Housing Act, 42 U.S.C. § 3604(c);

                     and

             d.      Coercion, intimidation, threats or interference with persons in the exercise

                     or enjoyment of, or on account of their having exercised or enjoyed, their

                     rights under Section 804 of the Fair Housing Act, in violation of Section

                     818 of the Fair Housing Act, 42 U.S.C. § 3617.

      10. The conduct of Defendant constitutes:

             a.      A pattern or practice of resistance to the full enjoyment of rights granted

                     by the Fair Housing Act, 42 U.S.C. §§ 3601, et seq.; and

             b.      A denial to a group of persons of rights granted by the Fair Housing Act,

                     42 U.S.C. §§3601, et seq., which denial raises an issue of general public

                     importance.

      11. Female tenants, prospective tenants, and persons associated with them have been

         injured by Defendant’s discriminatory conduct. Such persons are aggrieved persons



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         as defined in 42 U.S.C. § 3602(i), and have suffered damages as a result of

         Defendant’s conduct.

      12. Defendant’s conduct was intentional, willful, malicious, and/or taken in reckless

         disregard for the rights of others. Defendant’s conduct has caused personal injury to

         the aggrieved persons.

      13. As a result of Defendant’s willful and malicious injuries, Defendant is liable to the

         United States for civil penalties, pursuant to 42 U.S.C. § 3614(d)(1)(C), in an amount

         to be determined, and for monetary damages to the aggrieved persons, pursuant to 42

         U.S.C. § 3614(d)(1)(B), in an amount to be determined.

      14. On June 16, 2011, the District Court adopted the Magistrate Judge’s Report and

         Recommendation granting the United States’ Motion for Sanctions Pursuant to

         Federal Rule of Civil Procedure 37(a)(3)(A), due to Defendant’s repeated failure to

         file initial disclosures. (See Order, Dkt No. 17; Report and Recommendation, Dkt No.

         16.) The sanctions imposed are that Defendant is precluded from presenting any

         evidence or witnesses at trial except for purposes of impeachment.

      15. Discovery in United States v. Henry E. Bailey, Case No. 1:11cv00059, closed on

         January 5, 2012.

      16. Defendant filed for Chapter 13 bankruptcy on October 18, 2011, in the United States

         Bankruptcy Court for the Southern District of Ohio (“Bankruptcy Court”).

      17. Pursuant to 11 U.S.C. § 1328(a)(4), the debt owed by Defendant to the United States

         for civil penalties and monetary damages due to Defendant’s willful and malicious

         conduct is not dischargeable.




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      18. On November 24, 2011, the Chapter 13 Trustee, Margaret A. Burks, filed a Trustee’s

         Report in the Bankruptcy Court, in which the Trustee stated that “USA v. Bailey in

         U.S. District Court has been stayed.” (Bankr. Dkt No. 21, ¶ 12.) However, to date,

         the District Court has not stayed the district court lawsuit. Furthermore, pursuant to

         11 U.S.C. § 362(b)(4), Defendant’s bankruptcy petition does not operate as an

         automatic stay of the district court lawsuit because the lawsuit constitutes the

         continuation of an action or proceeding by a governmental unit to enforce such

         governmental unit’s police or regulatory power.




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                                       REQUESTED RELIEF

       For these reasons, the United States requests that this Honorable Court:

       A.      Determine that the debt that is owed by Defendant Henry E. Bailey to the United

States is excepted from discharge pursuant to 11 U.S.C. § 1328(a)(4); and

       B.      Grant the United States such other and further relief as the Court deems just and

necessary.

Respectfully submitted January 12, 2012.

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